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                                                                        RYAN ALEXANDER
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                                                                                                 UNITED STATES DISTRICT COURT
                                                                    6                                    DISTRICT OF NEVADA
                                                                    7
                                                                    8
3017 WEST CHARLESTON BOULEVARD SUITE 10, LAS VEGAS, NEVADA 89102




                                                                             KIZZY BYARS, DANIELLE JAMES, as                Case No.: 2:19-cv-01690-JCM-DJA
                                                                    9        Individuals and On Behalf of Others            Hon. James C. Mahan
                                                                             Similarly Situated;
                                                                   10                                                       SECOND AMENDED COMPLAINT
                                                                                             Plaintiffs,
                                                                   11                                                       CAUSES OF ACTION:
                                                                                 v.
                     RYAN ALEXANDER, CHTD.




                                                                                                                            1) Unpaid Overtime Wages - NRS 608 /
                                                                   12
                                                                             WESTERN BEST LLC, a Nevada Limited             29 U.S.C. §201
                                                                   13                                                       2) Waiting Time Penalties - NRS 608.040
                                                                             Liability Company doing business as THE        3) Unpaid Meal and Rest Breaks – NRS
                                                                   14        CHICKEN RANCH; DOES I through X,               608.019
                                                                             inclusive, and ROE CORPORATIONS I              4) Hostile Work Environment
                                                                   15        through X, inclusive,                          5) Discrimination and Retaliation under
                                                                                                                            42 U.S.C. §2000e
                                                                   16                        Defendants.                    6) Discrimination and Retaliation under
                                                                                                                            NRS 613.330
                                                                   17                                                       7) Tortious Constructive Discharge
                                                                                                                            8) Intentional Interference with Contract
                                                                   18
                                                                   19          COMES NOW, Plaintiffs KIZZY BYARS (“BYARS”) and DANIELLE JAMES
                                                                   20   “JAMES”), and all others similarly situated, by and through their attorney of record, Ryan
                                                                   21   Alexander, Esq. of Ryan Alexander, Chtd., as and for their complaint against Defendant
                                                                   22   WESTERN BEST LLC, a Nevada Limited Liability Company dba THE CHICKEN RANCH;
                                                                   23   DOES I through X, inclusive, and ROE CORPORATIONS I through X, inclusive (collectively,
                                                                   24   “Defendants,” “CHICKEN RANCH”), and hereby complains, alleges and states as follows:
                                                                   25                                              PARTIES
                                                                   26   1.     Plaintiff KIZZY BYARS is a resident of Hinds County, Missouri and was at all relevant
                                                                   27   times an employee of Defendant.
                                                                   28   2.     Plaintiff DANIELLE JAMES is a resident of Dade County, Florida and was at all relevant



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                                                                    1   times as an employee of Defendant.
                                                                    2   3.     Defendant WESTERN BEST LLC, a Nevada Limited Liability Company, is headquartered
                                                                    3   and doing business in Nye County, Nevada, under the trade name THE CHICKEN RANCH.
                                                                    4   4.     The true names and capacities, whether individual, corporate, associate or otherwise of other
                                                                    5   Defendant hereinafter designated as DOES I through X, inclusive, and/or ROE
                                                                    6   CORPORATIONS I through X, inclusive, who are in some manner responsible for injuries
                                                                    7   described herein, are unknown at this time. Plaintiff, therefore, sues said Defendant by such
                                                                    8   fictitious names and will seek leave of the Court to amend this Complaint to show their true
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                                                                    9   names and capacities when ascertained.
                                                                   10   5.     Upon information and belief, at all times pertinent, Defendant were agents, servants,
                                                                   11   employees or joint ventures of every other Defendant herein, and at all time mentioned herein
                     RYAN ALEXANDER, CHTD.




                                                                   12   were acting within the scope and course of said agency, employment, or joint venture, with
                                                                   13   knowledge and permission and consent of all other Defendants.
                                                                   14   6.     The Defendants are jointly and severally liable for each Defendant’s actions.
                                                                   15
                                                                   16                                     VENUE AND JURISDICTION
                                                                   17   7.     Plaintiff brings this action under Title VII of the Civil Rights Act of 1964 to redress the
                                                                   18   wrong done to them. Such action constituted discrimination on the basis of national origin, race
                                                                   19   and skin color discrimination, gender discrimination, religious discrimination and retaliation.
                                                                   20   8.     Plaintiff timely submitted charges of discrimination on the basis of race and color
                                                                   21   discrimination and retaliation to the Nevada Equal Rights Commission (“NERC”) and the United
                                                                   22   States Equal Employment Opportunity Commission (“EEOC”). The EEOC assumed jurisdiction
                                                                   23   over Plaintiff’s jurisdiction over Plaintiff’s charges pursuant to Title 42 United States Code §
                                                                   24   2000 (e).
                                                                   25   9.     Plaintiff JAMES was issued a Right to Sue letter from the EEOC on or about July 26, 2019.
                                                                   26   Plaintiff BYARS was issued a Right to Sue letter on or about August 5, 2019.
                                                                   27   10.    Jurisdiction is conferred on this Court by 42 U.S.C. § 2000(e).
                                                                   28   11.    This Court has supplemental jurisdiction over the remaining claims for relief pursuant to 28



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                                                                    1   U.S.C. §1367(a).
                                                                    2   12.   Venue for all causes of action stated herein lies in the District of the State of Nevada
                                                                    3   pursuant to 28 U.S.C. § 1391 as the acts alleged as a basis for federal claims took place within the
                                                                    4   boundaries of that district.
                                                                    5                        COLLECTIVE AND CLASS ACTION ALLEGATIONS
                                                                    6   13.   Plaintiffs bring this action on behalf of others similarly situated as a class action pursuant to
                                                                    7   Fed. R. Civ. P. 23.
                                                                    8   14.   Plaintiffs will fairly and adequately represent and will protect the interests of the class, and
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                                                                    9   have retained counsel with experience litigating employment claims.
                                                                   10   15.   The proposed class includes all of the prostitute employees (“Proposed Class”) of
                                                                   11   CHICKEN RANCH, and the likely class members are so numerous that joinder of all members is
                     RYAN ALEXANDER, CHTD.




                                                                   12   impracticable.
                                                                   13   16.   A collective and class action suit, such as this, is superior to other available means for fair
                                                                   14   and efficient adjudication of this lawsuit. The damages suffered by individual members of the
                                                                   15   class may be relatively small when compared to the expense and burden of product defect
                                                                   16   litigation, making it virtually impossible for members of the Class to individually redress the
                                                                   17   wrongs done to them.
                                                                   18   17.   The Proposed Class worked as CHICKEN RANCH employees, and are women. The
                                                                   19   Plaintiffs who are named here have suffered lost wages, unpaid overtime and breaks, endured
                                                                   20   hostile work environment, discrimination and retaliation, and the claims or defenses of the
                                                                   21   representative parties are typical of the claims or defenses of the Proposed Class.
                                                                   22   18.   Furthermore, even if any member of the Class could afford individual litigation against
                                                                   23   CHICKEN RANCH, it could and would be unduly burdensome to the judicial system. The
                                                                   24   collective action is, therefore, the most efficient method by which to resolve these claims.
                                                                   25   19.   Common questions of fact and law predominate the Proposed Class as a whole. Those
                                                                   26   include:
                                                                   27                 a. Whether Plaintiffs and the Class are properly deemed employees under Nevada
                                                                   28                 law;



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                                                                    1                b. Whether Plaintiffs and the Class have sustained damages from unpaid overtime,
                                                                    2                break periods and meal times, what is the proper measure of their damages and
                                                                    3                appropriate penalties for nonpayment;
                                                                    4                c. Whether Plaintiffs and the Class have endured a hostile work environment; and
                                                                    5                d. Whether Plaintiffs and the Class have endured discriminatory practices and
                                                                    6                retaliation under Nevada and federal law.
                                                                    7   20.   Notice of the pendency and any resolution of these actions can be provided to Class Action
                                                                    8   members by email, mail, print, or internet publications.
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                                                                   10                                     GENERAL ALLEGATIONS
                                                                   11   21. THE CHICKEN RANCH is a licensed CHICKEN RANCH in Nye County, Nevada.
                     RYAN ALEXANDER, CHTD.




                                                                   12   22. Plaintiffs BYARS and JAMES are adult African-American females, and were both employees
                                                                   13   of WESTERN BEST LLC until the incidents at issue occurred.
                                                                   14   23. The Defendants are an operational CHICKEN RANCH and are employers within the State of
                                                                   15   Nevada and within the jurisdictional coverage of Title VII of the Civil Rights Act, 29 U.S.C. §201
                                                                   16   and NRS 613.
                                                                   17   24. Plaintiff JAMES worked as a legal prostitute at CHICKEN RANCH from November 13, 2016
                                                                   18   to September 3, 2018.
                                                                   19   25. Plaintiff BYARS worked as a legal prostitute at CHICKEN RANCH from August 6, 2016
                                                                   20   until June 25, 2018.
                                                                   21   26. Plaintiffs BYARS and JAMES performed their job functions and employment responsibilities.
                                                                   22   27. Despite being named ‘independent contractors,’ as detailed below, Plaintiffs and the Proposed
                                                                   23   Class members working at CHICKEN RANCH are actually employees under Nevada law.
                                                                   24   28. During their employment at the CHICKEN RANCH, Plaintiffs were required to strictly
                                                                   25   adhere to the policies set forth in the CHICKEN RANCH's Independent Contractor Handbook
                                                                   26   (the “Handbook”).
                                                                   27   29. The Handbook included strict rules regarding scheduling, dress code and how to introduce
                                                                   28   themselves to clients, among other things. Plaintiffs were required to remain on site at the



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                                                                    1   CHICKEN RANCH and be "on-call" twenty-four hours a day, seven days a week.
                                                                    2   30. CHICKEN RANCH generally required that Plaintiffs be “properly dressed” by 10:00a.m. and
                                                                    3   be ready to work.
                                                                    4   31. Per the strict dress code set forth in the Handbook, “properly dressed” consisted of high heels
                                                                    5   and lingerie.
                                                                    6   32. The "Lineup" is the CHICKEN RANCH's term for where customers are able to view the
                                                                    7   women and choose which woman they desire to have a “party” with. CHICKEN RANCH uses
                                                                    8   “party” to refer to sexual intercourse.
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                                                                    9   33. Every time that CHICKEN RANCH management rang a certain bell, Plaintiffs were allotted
                                                                   10   only 3 minutes to personally appear at the Lineup.
                                                                   11   34. If Plaintiffs failed to appear for Lineup within three minutes, the CHICKEN RANCH would
                     RYAN ALEXANDER, CHTD.




                                                                   12   impose severe financial and other retaliatory penalties.
                                                                   13   35. Missing or being late for two (2) or more lineups carried additional penalties and fines.
                                                                   14   36. If the customer at the Lineup did not choose Plaintiff(s), then Plaintiffs were required to either
                                                                   15   mingle at the CHICKEN RANCH bar with other prospective customers, or go to their rooms.
                                                                   16   37. If Plaintiffs chose to go to their room, they were not permitted to relax by changing into more
                                                                   17   comfortable clothes or taking a nap. Plaintiffs were required to remain in lingerie and be ready to
                                                                   18   participate in another Lineup at any time, on 3 minutes notice.
                                                                   19   38. On a typical day, Plaintiffs were served brunch at 11:30 a.m. and dinner at 4:30 p.m.
                                                                   20   However, despite page seven of the Handbook suggesting that brunch is served from 11:30 a.m.
                                                                   21   until 12:30 p.m. and dinner is served from 4:30 p.m. until 5:30 p.m., these were not adequate
                                                                   22   lunch and dinner breaks under Nevada law.
                                                                   23   39. Plaintiffs were not permitted to leave the CHICKEN RANCH during meal time and were
                                                                   24   required to immediately stop their meal "break" if a client showed up. Despite it being a
                                                                   25   designated meal time, CHICKEN RANCH management would ring the Lineup bell and Plaintiffs
                                                                   26   only had 3 minutes to get to the Lineup or face penalties and employment consequences.
                                                                   27   40. Plaintiffs were not allowed to leave the CHICKEN RANCH at any time during their
                                                                   28   employment without permission. The only exception was “Day Out Tuesdays,” when they were



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                                                                    1   “allowed” by the CHICKEN RANCH to go into town for a few hours on Tuesday from 8:00 a.m.
                                                                    2   to 1:00 p.m., and only under the supervision of CHICKEN RANCH staff.
                                                                    3   41. Even during these supervised outings, Plaintiffs were still heavily restricted by the CHICKEN
                                                                    4   RANCH in terms of where they could go and what they could do, being limited to just a few
                                                                    5   restaurants and shops. Except for "Day Out Tuesdays," Plaintiffs were not permitted to leave the
                                                                    6   CHICKEN RANCH.
                                                                    7   42. Additionally, management at the CHICKEN RANCH required that Plaintiffs create new
                                                                    8   social media accounts and provided them with an email address that they were required to use
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                                                                    9   while at the CHICKEN RANCH. These social media and email accounts were monitored by
                                                                   10   CHICKEN RANCH management and could only be accessed while at the CHICKEN RANCH.
                                                                   11   43. While the CHICKEN RANCH did require that Plaintiffs have a Nye County prostitution
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                                                                   12   license, there are additional licenses necessary for independent contractors, such as state business
                                                                   13   registration and a local business license, which were not required by the CHICKEN RANCH for
                                                                   14   Plaintiffs to work there.
                                                                   15   44. Plaintiffs did not have control or discretion over the means or manner of the performance of
                                                                   16   their work or the result of the work. This was controlled entirely by CHICKEN RANCH
                                                                   17   management, who imposed strict protocols and rules that Plaintiffs had to follow.
                                                                   18   45. As discussed above, Plaintiffs did not have control over the time in which the work was
                                                                   19   performed, which was entirely controlled by the CHICKEN RANCH. Mandatory lineups would
                                                                   20   occur at any given time of day or night, making it impossible for Plaintiffs to have control over
                                                                   21   the time the work was performed.
                                                                   22   46. When BYARS attempted to decline participating in a "party" with a client, she was informed
                                                                   23   by CHICKEN RANCH manager Trudy Kevoian ("Trudy") would exclaim that "[she] can't just
                                                                   24   turn them all away!"
                                                                   25   47. Further, the CHICKEN RANCH set strict requirements as to when Plaintiffs were required to
                                                                   26   check-in and check-out of the CHICKEN RANCH, which Plaintiffs had no control over.
                                                                   27   48. Additionally, the CHICKEN RANCH Handbook states that "[a]ny changes to [Plaintiffs']
                                                                   28   schedule will result in a fine of $100 per day for leaving early." This fine, like all other fines



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                                                                    1   imposed by the CHICKEN RANCH, was deducted from Plaintiffs' paychecks, which is unlawful.
                                                                    2   49. This type of income penalty consequence is far more akin to an employee's pay being docked
                                                                    3   for leaving work early, and not the level of control that an independent contractor would have
                                                                    4   over the time the work is performed.
                                                                    5   50. Moreover, while there was no maximum amount of time that Plaintiffs were allowed to work
                                                                    6   at the CHICKEN RANCH, they were required to work a minimum of two consecutive weeks
                                                                    7   onsite at a time, during which they were required to exclusively work for the CHICKEN RANCH.
                                                                    8   51. During this two-week period, Plaintiffs were not allowed to see clients outside of the
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                                                                    9   CHICKEN RANCH, conduct any other business or have any control whatsoever over their
                                                                   10   schedule.
                                                                   11   52. Plaintiffs had absolutely no authority or discretion to hire employees to assist with their work.
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                                                                   12   53. Plaintiffs were also entirely subordinate to CHICKEN RANCH management, who, on a daily
                                                                   13   basis, directed Plaintiffs on how to dress, how to introduce themselves to clients, when and where
                                                                   14   to eat, and when to sleep.
                                                                   15   54. The CHICKEN RANCH Handbook even explicitly requires that the “ladies hold their
                                                                   16   tongue,” if they have an issue or disagreement with the shift manager.
                                                                   17   55. While Plaintiffs were required to pay for medical visits and a few other minor incidentals,
                                                                   18   Plaintiffs did not contribute “substantial investment[s] of capital in the business.” Plaintiffs did
                                                                   19   not purchase or lease required tools, materials, or equipment and securing access to a work space.
                                                                   20   56. The CHICKEN RANCH provided a work space on its premises which Plaintiffs were not
                                                                   21   allowed to ‘clock out’ and were subject to random room and property searches by CHICKEN
                                                                   22   RANCH management.
                                                                   23   57. Further, the CHICKEN RANCH provided materials and equipment required for Plaintiffs to
                                                                   24   perform their work, including, but not limited to, a bed, bedding and linen, washer and dryer,
                                                                   25   laundry detergent, towels, cleaning supplies, paper towels, toilet paper, various outfits to choose
                                                                   26   from, and a website where potential clients were able to browse the profiles of ladies employed by
                                                                   27   the CHICKEN RANCH.
                                                                   28   58. CHICKEN RANCH Manager Trudy made derogatory statements in reference to African-



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                                                                    1   Americans and “not to hire them because they are trouble” and they “did not want too many black
                                                                    2   girls in the house at one time.”
                                                                    3   59. CHICKEN RANCH Manager Trudy also made derogatory comments to Plaintiffs and other
                                                                    4   Class Members calling them “Niggers,” “Bitch[es]” and “Ho[s]”, creating a hostile work
                                                                    5   environment.
                                                                    6   60. Further Plaintiffs BYARS and JAMES were held to unfair and unequal standards that other
                                                                    7   non-African American, black or brown-skinned employees were not held to.
                                                                    8   61. CHICKEN RANCH’s managers, supervisors and operators were racist against African-
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                                                                    9   Americans and discriminatory against other employees.
                                                                   10   62. CHICKEN RANCH owners and executive management feigned ignorance about the situation,
                                                                   11   despite reports by Plaintiffs BYARS and JAMES, and other employees to the management.
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                                                                   12   63. Plaintiffs BYARS and JAMES were scheduled hours that exceeded required breaks and
                                                                   13   allotted times for meals and without proper compensation.
                                                                   14   64. Trudy retaliated against BYARS’ complaints of discrimination by telling her that there were
                                                                   15   no shifts available and subjecting her to different terms and conditions of employment, including
                                                                   16   moving her to a smaller room.
                                                                   17   65. Plaintiff BYARS constructively discharged on or about June 25, 2018.
                                                                   18   66. On March 19, 2019, Plaintiff BYARS filed her complaint with the Nevada Equal Rights
                                                                   19   Commission.
                                                                   20   67. Thereafter, Plaintiff BYARS was interviewed and given NERC charge number 0516-19-
                                                                   21   0055R and EEOC charge number 34B-2019-00647.
                                                                   22   68. Plaintiff BYARS signed her Charge of Discrimination documents on May 13, 2019.
                                                                   23   69. In late August 2018, JAMES spoke to shift manager Ty [last name unknown], about Trudy’s
                                                                   24   inappropriate comments about black African-Americans; Ty and shift managers Shannon [last
                                                                   25   name unknown] and Michelle [last name unknown] were aware but did not act to protect JAMES
                                                                   26   or respond to her concerns.
                                                                   27   70. Shortly before September 2, 2018, JAMES was provided with a new employment contract by
                                                                   28   CHICKEN RANCH management. The new contract contained new fines and rules, which she



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                                                                    1   believed to be unreasonable. CHICKEN RANCH management forbade her from taking the new
                                                                    2   contract home for review with her attorney before signing, demanding that she sign it before she
                                                                    3   left in order to maintain her employment.
                                                                    4   71. On or about September 3, 2018, JAMES was termination as retaliation for reporting
                                                                    5   discrimination.
                                                                    6   72. The conditions of Plaintiffs BYARS and JAMES employment were intolerable.
                                                                    7   73. CHICKEN RANCH and its principals and managers intentionally created or had knowledge
                                                                    8   of the intolerable conditions and failed to remedy the situation.
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                                                                    9   74. Defendants, their agents’ and employees’ discriminatory and retaliatory conduct created a
                                                                   10   work environment extremely detrimental to Plaintiffs’ emotional and physical health, interfered
                                                                   11   with Plaintiffs’ work, and caused acute emotional distress.
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                                                                   12   75. Plaintiffs suffered consequential and economic damages because of the retaliatory conduct.
                                                                   13   76. The aforementioned acts and conduct by Defendants, their agents and employees were
                                                                   14   intentional, willful, wanton, malicious, and outrageous.
                                                                   15           Direct Retaliation and Interference Continues After This Lawsuit Was Filed
                                                                   16   77. After this lawsuit was filed on September 29, 2019, CHICKEN RANCH, their agents and
                                                                   17   employees (presumably Trudy), have engaged in conduct intended to damage, continued to
                                                                   18   retaliate and willfully engaged in actions to prevent Plaintiffs from obtaining and continuing
                                                                   19   subsequent employment in Nevada, intended to blacklist Plaintiffs, and to interfere with
                                                                   20   Plaintiffs’ employment relationships.
                                                                   21   78. Upon information and belief, on or about January 7, 2020, CHICKEN RANCH contacted
                                                                   22   another Nevada brothel where JAMES now works and CHICKEN RANCH communicated
                                                                   23   allegations or materials regarding the accusations of the original complaint to JAMES’ current
                                                                   24   employer.
                                                                   25   79. On January 7, 2020, JAMES’ current employer began to contact her with further questions
                                                                   26   regarding this suit, and relayed messages over the following days that appear to be veiled threats
                                                                   27   originating from CHICKEN RANCH of retaliation and employment consequences.
                                                                   28   80. Further, upon information and belief, after September 29, 2019, CHICKEN RANCH



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                                                                    1   contacted another property that had inexplicably withdrawn ceased hosting JAMES.
                                                                    2   81. The aforementioned acts and conduct by Defendants, their agents and employees were
                                                                    3   intentional, willful, wanton, malicious, and outrageous.
                                                                    4                                     FIRST CLAIM FOR RELIEF
                                                                    5                            (Failure to Pay Overtime Wages NRS 608.018)
                                                                    6   82.   Plaintiffs incorporate and re-allege the foregoing paragraph as if fully rewritten herein.
                                                                    7   83.   NRS 608.140 provides that an employee has a private right of action for unpaid wages.
                                                                    8   84.   NRS 608.018(1) provides as follows:
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                                                                                    An employer shall pay 1 1/2 times an employee's regular wage rate whenever an
                                                                    9
                                                                                    employee who receives compensation for employment at a rate less than 1 1/2 times
                                                                   10               the minimum rate prescribed pursuant to NRS 608.250 works: (a) More than 40
                                                                   11               hours in any scheduled week of work; or (b) More than 8 hours in any workday
                                                                                    unless by mutual agreement the employee works a scheduled 10 hours per day for 4
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                                                                   12               calendar days within any scheduled week of work.
                                                                   13   NRS 608.01 8(2) provides as follows: An employer shall pay 1 1/2 times an employee's regular
                                                                   14   wage rate whenever an employee who receives compensation for employment at a rate not less
                                                                   15   than 1 1/2 times the minimum rate prescribed pursuant to NRS 608.250 works more than 40 hours
                                                                   16   in any scheduled week of work.
                                                                   17   85.   Here, Plaintiffs were on-call twenty-four hours per day while working at the CHICKEN
                                                                   18   RANCH and regularly worked more than eight (8) hours in a workday. While they were
                                                                   19   permitted to sleep from 3:00 a.m. to 10:00 a.m. (which was known as "Quiet Time"), they were
                                                                   20   still required to be "lineup ready" during this time (even while they slept) and party with a client if
                                                                   21   selected. As a result, Plaintiffs remained in their work clothes during Quiet Time, as they could be
                                                                   22   required to participate in a lineup at any point with just three minutes notice. At no time were
                                                                   23   Plaintiffs completely relieved from duty for a long enough period that they could use the time
                                                                   24   effectively for their own purposes.
                                                                   25   86.   Therefore, Plaintiffs' on-call time must considered to be payable "hours worked."
                                                                   26   87.   JAMES worked a total of 159 days onsite at the CHICKEN RANCH, and BYERS worked a
                                                                   27   total of 148 days at the CHICKEN RANCH.
                                                                   28   88.   By unlawfully paying Plaintiffs less than the higher-tier minimum wage rate of $8.25 (with



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                                                                    1   an overtime wage rate of $12.38), Defendants have failed to compensate Plaintiffs at the correct
                                                                    2   overtime wage rate for all the overtime hours that they worked pursuant to NRS 608.018.
                                                                    3   89.   Alternately, pursuant to the Federal Fair Labor Standards Act, 29 U.S.C. §201 et seq.
                                                                    4   (“FLSA”), CHICKEN RANCH is classified as an employer under FLSA and the facts described
                                                                    5   above violate the provisions of FLSA 29 U.S.C. §201, et seq. As a result of these unlawful
                                                                    6   practices described above, Plaintiffs suffered a loss of wages.
                                                                    7   90.   Plaintiffs were forced to retain Ryan Alexander, Chtd. to prosecute this action, and therefore
                                                                    8   are entitled to an award of reasonable attorney’s fees and costs of suit incurred herein.
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                                                                    9                                   SECOND CLAIM FOR RELIEF
                                                                   10                                        (Waiting Time Penalties)
                                                                   11   91.   Plaintiffs incorporate and re-allege the foregoing paragraph as if fully rewritten herein
                     RYAN ALEXANDER, CHTD.




                                                                   12   92.   NRS Section 608.020 provides that whenever an employer discharges an employee, wages
                                                                   13   and compensation earned and unpaid at the time of such discharge shall become due and payable
                                                                   14   immediately.
                                                                   15   93.   JAMES was wrongfully terminated on September 3, 2018 and her wages were due to her
                                                                   16   immediately. Moreover, she did not receive any overtime payments. Therefore, JAMES is now
                                                                   17   due the full amount under NRS 608.040, which provides the following penalty: If an employer
                                                                   18   fails to pay:
                                                                                   a. Within 3 days after wages or compensation of a discharged employee becomes due;
                                                                   19
                                                                                   or
                                                                   20              b. On the day the wages or compensation is due to an employee who resigns or quits,
                                                                   21              the wages or compensation of the employee continues at the same rate from the day the
                                                                                   employee resigned, quit or was discharged until paid or for 30 days, whichever is less.
                                                                   22
                                                                        94.   Additionally, BYARS was forced to tender her resignation on June 25, 2018 and asked that
                                                                   23
                                                                        Trudy remove her pictures and video from the CHICKEN RANCH's website.
                                                                   24
                                                                        95.   Pursuant to NRS 608.030:
                                                                   25            Whenever an employee resigns or quits his or her employment, the wages and
                                                                   26            compensation earned and unpaid at the time of the employee's resignation or quitting
                                                                                 must be paid no later than:
                                                                   27
                                                                                     1. The day on which the employee would have regularly been paid the wages or
                                                                   28                compensation; or



                                                                                                                        11
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                                                                                     2. Seven days after the employee resigns or quits, whichever is earlier.
                                                                    1
                                                                        96.   Plaintiffs did not receive any overtime payments. Therefore, they are now due the full
                                                                    2
                                                                        amount under NRS 608.040.
                                                                    3
                                                                        97.   Plaintiffs were forced to retain Ryan Alexander, Chtd. to prosecute this action, and therefore
                                                                    4
                                                                        are entitled to an award of reasonable attorney’s fees and costs of suit incurred herein.
                                                                    5
                                                                                                         THIRD CLAIM FOR RELIEF
                                                                    6
                                                                                                         (Unpaid Meal and Rest Breaks)
                                                                    7
                                                                        98.   Plaintiffs incorporate and re-allege the foregoing paragraph as if fully rewritten herein.
                                                                    8
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                                                                        99.   NRS Section 608.019 provides that an employer shall not employ an employee for a
                                                                    9
                                                                        continuous period of eight (8) hours without permitting the employee to have a meal period of at
                                                                   10
                                                                        least one half hour. Nevada law also provides that every employer shall authorize and permit all
                                                                   11
                                                                        employees to take rest periods, which, insofar as practicable, shall be in the middle of each work
                     RYAN ALEXANDER, CHTD.




                                                                   12
                                                                        period. The duration of the rest periods shall be based on the total hours worked daily at the rate
                                                                   13
                                                                        of ten (10) minutes for each four (4) hours or major fraction thereof. Authorized rest periods shall
                                                                   14
                                                                        be counted as hours worked, for which there shall be no deduction from wages.
                                                                   15
                                                                        100. Here, the meal and rest breaks provided to Plaintiffs did not meet the requirements under
                                                                   16
                                                                        Nevada law for adequate meal breaks or rest periods.
                                                                   17
                                                                        101. While the Handbook states that brunch is served from 11:30 a.m. to 12:30p.m. and dinner is
                                                                   18
                                                                        served from 4:30p.m. to 5:30p.m., and that ladies were not required to make a lineup during meal
                                                                   19
                                                                        times, this is not how things worked in practice. Rather, the designated hours for brunch and
                                                                   20
                                                                        dinner were systematically interrupted by Lineups.
                                                                   21
                                                                        102. On countless occasions, Plaintiffs were expected to stop eating immediately and rush out to
                                                                   22
                                                                        the lineup, being instructed by Trudy that "there is no excuse for missing a lineup."
                                                                   23
                                                                        103. Plaintiffs were also required to participate in Lineups even if they were sick or fatigued.
                                                                   24
                                                                        104. Plaintiffs were forbidden from leaving CHICKEN RANCH during "designated meal times."
                                                                   25
                                                                        105. Other than the small exception of the heavily supervised and regulated "Day Out Tuesdays,"
                                                                   26
                                                                        Plaintiffs were not allowed to leave the CHICKEN RANCH once they "checked in."
                                                                   27
                                                                        106. The CHICKEN RANCH put in place numerous, burdensome limitations on Plaintiffs' "Day
                                                                   28



                                                                                                                        12
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                                                                    1   Out Tuesdays," as listed in the Handbook. Among other things, Plaintiffs were told by the
                                                                    2   CHICKEN RANCH where they could go - they could not leave Pahrump - where they should go
                                                                    3   and what they should do - only restaurants or stores for shopping or services - and when they
                                                                    4   were allowed to go - only on Tuesdays from 8:00a.m. until 1:00 p.m.
                                                                    5   107. Additionally, while the Handbook states that Plaintiffs could use their own vehicle, ride
                                                                    6   with someone, call a taxi or use the CHICKEN RANCH car on Day Out Tuesdays, in reality, they
                                                                    7   were limited to being transported by CHICKEN RANCH staff in a CHICKEN RANCH vehicle
                                                                    8   so that the Plaintiffs could be supervised during their time away.
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                                                                    9   108. Plaintiffs were not permitted to use any other means of transport, which is yet another
                                                                   10   example of the misleading nature of the Handbook and how things worked much differently in
                                                                   11   practice at CHICKEN RANCH.
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                                                                   12   109. Accordingly, Plaintiffs were not provided adequate meal and rest breaks, or paid rest breaks,
                                                                   13   according to Nevada law and are owed back wages and penalties.
                                                                   14   110. Plaintiffs were forced to retain Ryan Alexander, Chtd. to prosecute this action, and therefore
                                                                   15   are entitled to an award of reasonable attorney’s fees and costs of suit incurred herein.
                                                                   16                                   FOURTH CLAIM FOR RELIEF
                                                                   17                                     (Hostile Work Environment)
                                                                   18   111. Plaintiffs incorporate and re-allege the foregoing paragraph as if fully rewritten herein.
                                                                   19   112. As detailed above, CHICKEN RANCH management created a hostile work environment by
                                                                   20   regularly using highly offensive and derogatory language when referring to African-American
                                                                   21   and female employees. Among other things, Trudy commonly referred to African-American
                                                                   22   employees as "niggers," "nigga" or "negroes." She also repeatedly made discriminatory comments
                                                                   23   relating to the CHICKEN RANCH's policy of not "hiring new black girls" because they were
                                                                   24   "trouble" and she did not want "too many black girls in the house at one time." Further, Trudy
                                                                   25   often referred to female employees as a "bitch" and "ho", as well as threatened to slap female
                                                                   26   employees on numerous occasions. Plaintiffs, who are African-American women, considered
                                                                   27   these comments to be highly offensive, abusive and hostile.
                                                                   28   113. Moreover, given Trudy's position as CHICKEN RANCH manager, Plaintiffs were



                                                                                                                        13
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                                                                    1   intimidated to report this pervasive, hostile behavior to upper management, especially in light of
                                                                    2   the Handbook, which states: “If you have an issue or disagreement regarding a Shift Manager
                                                                    3   please be a lady and hold your tongue.”
                                                                    4   114. When Plaintiffs and Class Members questioned Trudy directly, they were fined and subject
                                                                    5   to other penalties.
                                                                    6   115. The CHICKEN RANCH's policy was for its employees not to report offensive behavior to
                                                                    7   upper management.
                                                                    8   116. Plaintiffs endured harassment, speech or conduct that is severe or pervasive enough to create
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                                                                    9   a work environment that a reasonable person would consider intimidating, hostile, or abusive and
                                                                   10   is based on someone's race or sex.
                                                                   11   117. Defendant subjected Plaintiffs to verbal or physical conduct based on their African-
                     RYAN ALEXANDER, CHTD.




                                                                   12   American race and black/brown skin.
                                                                   13   118. Defendant’s conduct was unwelcome.
                                                                   14   119. The Defendant’s discriminatory conduct was sufficiently severe and pervasive to alter the
                                                                   15   conditions of Plaintiffs’ employment and create an abusive working environment.
                                                                   16   120. The use of the word 'nigger' is highly offensive and demeaning, as, “perhaps no single act
                                                                   17   can more quickly alter the conditions of employment and create an abusive working environment
                                                                   18   than the use of an unambiguously racial epithet such as 'nigger' by a supervisor in the presence of
                                                                   19   his subordinates.” McGinest v. GTE Serv. Corp., 360 F.3d 1116 (9th Cir. 2004).
                                                                   20   121. As a direct and proximate result of said acts, Plaintiffs suffered loss of employment, loss of
                                                                   21   income, loss of other employment benefits, and have suffered and continues to suffer distress,
                                                                   22   humiliation, great expense, embarrassment, and damage to his reputation, all to Plaintiff’s damage
                                                                   23   in an amount to be determined.
                                                                   24   122. The acts theretofore complained of were intentionally done by Defendants and were done
                                                                   25   with malice and oppression, and, as a result, Plaintiff requests an award of punitive damages in an
                                                                   26   amount in excess in an amount to be determined.
                                                                   27   123. Plaintiffs were forced to retain Ryan Alexander, Chtd. to prosecute this action, and therefore
                                                                   28   are entitled to an award of reasonable attorney’s fees and costs of suit incurred herein.



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                                                                    1                                     FIFTH CLAIM FOR RELIEF
                                                                    2                      (Discrimination and Retaliation under 42 U.S.C. § 2000e)
                                                                    3   124. Plaintiffs incorporate and re-allege the foregoing paragraph as if fully rewritten herein.
                                                                    4   125. The above discriminatory and retaliatory pattern and practice by defendant, its agents and
                                                                    5   employees, violates Title VII of the 1964 Civil Rights Act, 42 U.S.C. §2000e.
                                                                    6   126. Plaintiffs engaged in a protected activity, suffered adverse employment actions and there
                                                                    7   was a causal link between their activities and the employment decisions.
                                                                    8   127. Plaintiffs were retaliated against for asserting their rights, including the right to grieve
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                                                                    9   discriminatory practices, and to be free to contract with legal counsel.
                                                                   10   128. After this suit was filed, Defendants engaged in acts to disrupt Plaintiffs’ subsequent
                                                                   11   employment.
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                                                                   12   129. As a direct and proximate result of said acts, Plaintiffs suffered loss of employment, loss of
                                                                   13   income, loss of other employment benefits, and have suffered and continue to suffer distress,
                                                                   14   humiliation, great expense, embarrassment, and damage to their reputation.
                                                                   15   130. The acts theretofore complained of were intentionally done by Defendants and were done
                                                                   16   with malice and oppression, and, as a result, Plaintiff requests an award of punitive damages in an
                                                                   17   amount in excess in an amount to be determined.
                                                                   18   131. Plaintiffs were forced to retain Ryan Alexander, Chtd. to prosecute this action, and therefore
                                                                   19   are entitled to an award of reasonable attorney’s fees and costs of suit incurred herein.
                                                                   20                                     SIXTH CLAIM FOR RELIEF
                                                                   21                         (Discrimination and Retaliation under NRS 613.330)
                                                                   22   132. Plaintiffs incorporate and re-allege the foregoing paragraph as if fully rewritten herein.
                                                                   23   133. The actions of Defendants, its agents and employees, violated NRS 613.330 et seq.
                                                                   24   134. Further, Defendants continued to retaliate and willfully engaged in actions to prevent
                                                                   25   Plaintiffs from obtaining and continuing subsequent employment in Nevada, including contacting
                                                                   26   their employer(s) and discussing this case and its allegations, in violation of NRS 613.200 and
                                                                   27   613.330 et seq.
                                                                   28   135. Further, Defendants willfully engaged in actions to attempt to “blacklist” Plaintiffs from



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                                                                    1   obtaining and continuing subsequent employment in Nevada, including contacting their
                                                                    2   subsequent employer(s) and discussing this case and its allegations, in violation of NRS 613.210.
                                                                    3   136. Plaintiffs were retaliated against, inter alia, for asserting their rights, including the right to
                                                                    4   grieve discriminatory practices and to be free to contract with legal counsel.
                                                                    5   137. As a direct and proximate result of said acts, Plaintiffs suffered loss of employment, loss of
                                                                    6   income, loss of other employment benefits, and have suffered and continues to suffer distress,
                                                                    7   humiliation, great expense, embarrassment, and damage to his reputation, all to Plaintiff’s damage
                                                                    8   in an amount to be determined.
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                                                                    9   138. The acts theretofore complained of were intentionally done by Defendants and were done
                                                                   10   with malice and oppression, and, as a result, Plaintiff requests an award of punitive damages in an
                                                                   11   amount in excess in an amount to be determined.
                     RYAN ALEXANDER, CHTD.




                                                                   12   139. Plaintiffs were forced to retain Ryan Alexander, Chtd. to prosecute this action, and therefore
                                                                   13   are entitled to an award of reasonable attorney’s fees and costs of suit incurred herein.
                                                                   14                                   SEVENTH CLAIM FOR RELIEF
                                                                   15                                    (Tortious Constructive Discharge)
                                                                   16   140. Plaintiffs incorporate and re-allege the foregoing paragraph as if fully rewritten herein.
                                                                   17   141. As described above, the CHICKEN RANCH engaged in an ongoing pattern of racial and
                                                                   18   gender discrimination, harassment and offensive behavior, as set forth above. The CHICKEN
                                                                   19   RANCH also imposed unreasonably strict and punitive rules on its employees.
                                                                   20   142. As a result of the hostile working environment and related suffering, BYARS was forced to
                                                                   21   resign her position. Under the law, this amounts to tortious constructive discharge.
                                                                   22   143. BYARS’ resignation was induced by Defendant’s actions and conditions that are violative
                                                                   23   of public policy.
                                                                   24   144. A reasonable person in BYARS’ position at the time of resignation would have also
                                                                   25   resigned because of the aggravated and intolerable employment actions and conditions.
                                                                   26   145. The CHICKEN RANCH had actual or constructive knowledge of the intolerable actions and
                                                                   27   conditions and their impact on BYARS.
                                                                   28   146. The situation could have been remedied by the CHICKEN RANCH.



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                                                                    1   147. Plaintiff was forced to retain Ryan Alexander, Chtd. to prosecute this action, and therefore
                                                                    2   is entitled to an award of reasonable attorney’s fees and costs of suit incurred herein.
                                                                    3   //
                                                                    4                                     EIGHTH CLAIM FOR RELIEF
                                                                    5                          (Intentional Interference with Contractual Relations)
                                                                    6   148. Plaintiffs incorporate and re-allege the foregoing paragraph as if fully rewritten herein.
                                                                    7   149. Subsequent to the filing of this lawsuit, Plaintiffs had employment with subsequent
                                                                    8   employers pursuant to valid and existing contracts.
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                                                                    9   150. CHICKEN RANCH was aware of Plaintiffs’ subsequent employment and CHICKEN
                                                                   10   RANCH contacted their employers.
                                                                   11   151. Upon information and belief, CHICKEN RANCH’s principals and employees engaged in
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                                                                   12   coercive, intentional acts intended or designed to disrupt Plaintiffs’ subsequent employment,
                                                                   13   causing actual disruption of their subsequent employment agreements;
                                                                   14   152. As a direct and proximate result of the Defendant’s actions intended to interfere with
                                                                   15   Plaintiff’s subsequent employment contract(s), Counterclaimant has suffered damages to be
                                                                   16   determined but in excess of $15,000.00.
                                                                   17   153. Defendants are further liable for punitive damages for their intentional interference with
                                                                   18   Plaintiff’s subsequent employment contract(s).
                                                                   19                                                     …
                                                                   20                                              JURY DEMAND
                                                                   21           Within Fed. R. Civ. P., Rule 59, the Seventh Amendment to the Constitution of the
                                                                   22   United States, as well as Article 1, Section 3 of the Constitution of the State of Nevada, or as
                                                                   23   otherwise may be provided, Plaintiffs hereby demand a jury trial for each of their claims.
                                                                   24                                                      …
                                                                   25        WHEREFORE, Plaintiffs are entitled to judgment in their favor and against Defendants, jointly
                                                                   26   and severally, as follows:
                                                                   27        1. For an award of past and future damages, including damages for past lost wages and
                                                                   28           benefits, anxiety, emotional distress, and suffering;



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                                                                    1    2. For all costs and all attorneys’ fees incurred and accrued in these proceedings under NRS 68
                                                                    2        or 42 U.S.C. § 2000e-5(k);
                                                                    3    3. For interest thereon at the legal rate until paid in full;
                                                                    4    4. For punitive and compensatory damages in an amount to be determined by this court; and
                                                                    5    5. For such other and further relief as the Court may deem just and proper.
                                                                    6
                                                                    7   Dated January 24, 2022.                               RYAN ALEXANDER, CHTD.
                                                                    8
3017 WEST CHARLESTON BOULEVARD SUITE 10, LAS VEGAS, NEVADA 89102




                                                                                                                              __________________________
                                                                    9
                                                                                                                              RYAN ALEXANDER
                                                                   10                                                         Nevada Bar No. 10845
                                                                                                                              3017 West Charleston Blvd., Ste. 10
                                                                   11                                                         Las Vegas, NV 89102
                     RYAN ALEXANDER, CHTD.




                                                                                                                              Attorney for Plaintiffs
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                                                                                                            PROOF OF SERVICE
                                                                    1
                                                                    2        I am a resident of the State of Nevada, over the age of eighteen years, and not a party to the
                                                                        within action. My business address is 3017 W. Charleston, Ste. 58, Las Vegas, Nevada 89102.
                                                                    3   On January 24, 2022, I served the within document(s):
                                                                    4
                                                                                                     SECOND AMENDED COMPLAINT
                                                                    5
                                                                        ■      ECF System.
                                                                    6
                                                                    7                FOX ROTHSCHILD LLP
                                                                                     DEANNA L. FORBUSH           dforbush@foxrothschild.com
                                                                    8                COLLEEN E. MCCARTY cmccarty@foxrothschild.com
3017 WEST CHARLESTON BOULEVARD SUITE 10, LAS VEGAS, NEVADA 89102




                                                                                     Attorneys for Defendant Western Best LLC
                                                                    9                d/b/a The Chicken Ranch
                                                                   10
                                                                         FACSIMILE - by transmitting via facsimile the document(s) listed above to the fax
                                                                   11   number(s) set forth on the attached Telecommunications Cover Page(s) on this date before 5:00
                                                                        p.m.
                     RYAN ALEXANDER, CHTD.




                                                                   12
                                                                   13    MAIL - by placing the document(s) listed above in a sealed envelope with postage thereon
                                                                        fully prepaid, in the United States mail at Las Vegas, Nevada addressed as set forth below.
                                                                   14
                                                                         PERSONAL SERVICE - by personally delivering the document(s) listed above to the
                                                                   15   person(s) at the address(es) set forth below.
                                                                   16
                                                                        I declare under penalty of perjury under the laws of the State of Nevada that the above is true and
                                                                   17   correct. Executed on January 24, 2022 at Las Vegas, Nevada.
                                                                   18
                                                                                                                    /s/ Jennifer Lee
                                                                   19                                               An Employee of RYAN ALEXANDER, CHTD.
                                                                                                                    Attorney for Plaintiff
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